      Case 2:21-cr-00491-SB Document 58 Filed 12/30/21 Page 1 of 4 Page ID #:677




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12
                              UNITED STATES DISTRICT COURT
13
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
     UNITED STATES OF AMERICA,                     Case No. 2:21-cr-00491-SB
15
                 Plaintiff,                        GOVERNMENT’S UNOPPOSED EX
16                                                 PARTE APPLICATION FOR LEAVE TO
                        v.                         FILE UNDER SEAL SUR-REPLY TO
17                                                 DEFENDANT’S MOTION TO COMPEL
     JEFFREY FORTENBERRY,                          DISCOVERY; DECLARATION OF
18                                                 SUSAN S. HAR
                 Defendant.
19                                                 Indictment: 10/19/2021
                                                   Pretrial Conference: 2/8/2022 at 8:00 a.m.
20                                                 Trial: 2/15/2022 at 8:00 a.m.
                                                   Last Day: 3/2/2022
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23
24         Plaintiff United States of America, by and through its counsel of record, the
25   United States Attorney for the Central District of California and Assistant United States
26   Attorney Mack E. Jenkins, Susan S. Har, and J. Jamari Buxton, hereby applies ex parte
27   for leave to file under seal a sur-reply to defendant Jeffrey Fortenberry’s (“defendant”)
28   motion to compel discovery (Dkt. No. 30).
      Case 2:21-cr-00491-SB Document 58 Filed 12/30/21 Page 2 of 4 Page ID #:678




1          Sealing court records may be justified “when such court files might have become
2    a vehicle for improper purposes, such as the use of records to gratify private spite,
3    promote public scandal, circulate libelous statements, or release trade secrets.”
4    Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1179 (9th Cir. 2006). The court
5    has discretion to allow the filing of a surreply, including, for instance, “where a valid
6    reason for such additional briefing exists, such as where the movant raises new
7    arguments in its reply brief.” Hill v. England, No. CVF05869RECTAG, 2005 WL
8    3031136, at *1 (E.D. Cal. Nov. 8, 2005) (citation omitted).
9          This ex parte application is based upon the government’s pending unopposed ex
10   parte application to submit briefs of this nature under seal (Dkt. No. 50); the
11   government’s pending unopposed ex parte application for leave to file a sur-reply by
12   December 30, 2021 (Dkt. No. 55); the accompanying declaration, the files and records in
13   this case, and any further argument that the Court might permit.
14
15                                              Respectfully submitted,
      Dated: December 30, 2021
16                                              TRACY L. WILKISON
                                                United States Attorney
17
                                                SCOTT M. GARRINGER
18                                              Assistant United States Attorney
                                                Chief, Criminal Division
19
20                                                  /s/
                                                SUSAN S. HAR
21                                              MACK E. JENKINS
                                                J. JAMARI BUXTON
22                                              Assistant United States Attorneys
23                                              Attorneys for Plaintiff
                                                UNITED STATES OF AMERICA
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          Case 2:21-cr-00491-SB Document 58 Filed 12/30/21 Page 3 of 4 Page ID #:679




1                               DECLARATION OF SUSAN S. HAR
2             I, Susan S. Har, declare as follows:
3             1.    I am an Assistant United States Attorney in the United States Attorney’s
4    Office for the Central District of California. I am assigned to the case of United States v.
5    Jeffrey Fortenberry, 21-CR-491-SB.
6             2.    On December 20, 2021, due to the government’s belief that the public
7    docket contained information that could cause unnecessary and unfair harm to a federal
8    agent, the government filed an unopposed ex parte application for an order sealing briefs
9    and exhibits relating to defendant’s motion to compel discovery. (Dkt. No. 50.) Among
10   other things, that application requests the Court to order future filings pertaining
11   exclusively to Sensitive Information to be made under seal. (Id.) As of the date and
12   time of this declaration, that application is still pending before the Court.
13            3.    On December 23, 2021, the government filed an unopposed ex parte
14   application for an order granting the government leave to file a sur-reply to defendant’s
15   motion to compel discovery. (Dkt. No. 55.) As noted in that application, defendant’s
16   reply newly attached two declarations and four exhibits. (Id.) Accordingly, the
17   government requested leave to file a sur-reply by no later than December 30, 2021. (Id.)
18   As of the date and time of this declaration, that application is still pending before the
19   Court.
20   //
21   //
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      Case 2:21-cr-00491-SB Document 58 Filed 12/30/21 Page 4 of 4 Page ID #:680




1          4.     Because, as drafted, the proposed order granting the government leave to
2    file a sur-reply would require the government to submit its filing by today, December 30,
3    2021, the government now submits this supplemental application requesting the Court
4    grant it leave to submit a sur-reply (consistent with the pending unopposed application at
5    Dkt. No. 55) and to submit such filing under seal (consistent with the unopposed
6    application at Dkt. No. 50).
7
8          I declare under penalty of perjury under the laws of the United States of America
9    that the foregoing is true and correct and that this declaration is executed at Los Angeles,
10   California, on December 30, 2021.
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13                                                 SUSAN S. HAR
                                                   Assistant United States Attorney
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